Case 4:21-cr-00056-EWH-LRL Document 7 Filed 08/17/22 Page 1 of 1 PageID# 12




                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                           NEWPORT NEWS DIVISION

                 WRIT OF HABEAS CORPUS AD PROSEOUENDUM



TO:    Attn: Brett Bullis, Warden                             Criminal No.: 4:21cr56
       Avery-Mitchell Correctional Institution
       600 Amity Park Road
       Spruce Pine, NC 28777
      (828) 765-0229



       WE COMMAND YOU to surrender the body of LADRALE PUTNEY, detained

under your custody, to the United States Marshal for the Eastern District of Virginia or

his Deputy. The said United States Marshal is directed to produce the body before the

United States District Court for the Eastern District of Virginia, at 600 Granby Street,

Norfolk, Virginia, on the 23'^'' day of August, 2022, at 9:00 a.m., and at such other times

as this Court may direct, then and there to do, submit to, and receive whatsoever the

Court shall then and there determine. The body thereafter shall forthwith be returned

by the United States Marshal to the above-referenced institution and custody, and you

have then and there this writ.


       WITNESS, the Honorable Lawrence R. Leonard, Magistrate Judge of the United

States District Court for the Eastern District of Virginia, at Norfolk, Virginia, this

    day of August,2022.

                                   FERNANDO GALINDO,CLERK

                                           /s/ A./P.
                            By:                  ^
                                   B. Peters, Deputy Clerk
